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                                      January 15, 2025

Hon. Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. Sean Combs, 24-cr-542 (AS)

Dear Judge Subramanian:

        We write in response to the government’s letter requesting redactions to the
defense’s January 14, 2025 letter motion. See Dkts. 126, 127. At the direction of the Court,
the letter motion has been refiled with the government’s requested redactions. See Dkt.
128, 129. Nevertheless, we write in opposition to the government’s proposed redactions
as overbroad and inconsistent with the presumption of public access to judicial documents,
and seek leave to refile the letter motion with the narrower redactions.

         As an initial matter, the defense’s general characterizations of evidence did not
disclose the “content of AEO Material.” Dkt. 26. A general description of the nature of
the evidence – with specific descriptions and additional details redacted – is perfectly
consistent with the language and spirit of the Protective Order. This is especially true when
the existence of the evidence is already public and the government has regularly provided
its own characterizations. See, e.g., Indictment ¶ 12(a) (publicizing “extended sex acts
with male commercial sex workers,” and “elaborate and produced sex performances” that
were “electronically recorded”); Dkt. 5 at 2, 12 (publicizing that “during the Freak Offs,”
alleged victims were subjected to “physical, emotional, and verbal abuse,” including being
“hit, kicked, . . . and dragged,” and that alleged victim claims are “corroborated by” “videos
of the Freak Offs”).

        Even assuming the defense’s general characterization of evidence without
additional detail is covered by the Protective Order – which it is not – that is “not a valid
basis for sealing.” United States v. Xu, No. 23-CR-133-5 (JMF), 2024 WL 4504352, at *4
(S.D.N.Y. Oct. 16, 2024) (rejecting as a basis for sealing that the government designated
material under the parties’ protective order and directing government to justify how sealing
is “consistent with the presumption in favor of public access to judicial documents” (citing
Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 119-20 (2d Cir. 2006)). In
determining if a document should be publicly accessible, a court should: (i) determine if it
is a judicial document; (ii) determine the weight of the presumption of access attached to
it; and (iii) balance the countervailing interests against the presumption of access. See
Lugosch, 435 F.3d at 119-20; see also Waller v. Georgia, 467 U.S. 39, 46 (1984) (“[T]here
can be little doubt that the explicit Sixth Amendment right of the accused is no less
protective of a public trial than the implicit First Amendment right of the press and the
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public.”). Because the motion to amend the protective order is “useful in the juridical
process,” the presumption of public access applies. See id. This is especially true where,
as here, it relates to the government’s key piece of evidence and Mr. Combs’ trial rights
are being compromised by his inability to access it. See United States v. Amodeo, 71 F.3d
1044, 1049 (2d Cir. 1995) (strong presumption “derive[s] from the role those documents
played in determining litigants’ substantive rights—conduct at the heart of Article III—
and from the need for public monitoring of that conduct”). Indeed, the public can only
have confidence in the “conscientiousness, reasonableness, or honesty of judicial
proceedings” if the documents on which judges rely are publicly available. Id. at 1048.

        “[T]he presumptive right of access prevails unless it is overcome by ‘specific, on-
the-record findings that sealing is necessary to preserve higher values and only if the
sealing order is narrowly tailored to achieve that aim.’” Newsday LLC v. Cnty. of Nassau,
730 F.3d 156, 165 (2d Cir. 2013) (quoting Lugosch, 435 F.3d at 124). “Broad, general, and
conclusory findings are insufficient.” Id. Notably, “generalized statements” regarding
sexual activity and privacy interests are insufficient. Brown v. Maxwell, 929 F.3d 41, 48
(2d Cir. 2019)). The government’s letter fails to address these issues and fails to provide
any valid justification for sealing that would override the presumption of public access.

        Moreover, any competing justification provided by the government would not
outweigh the presumption of public access and justify sealing. While Victim 1 may have
privacy interests that justify keeping the videos themselves under seal at this stage,
including details of the content of the videos, the fact that Victim 1 was filmed while
participating in the so-called “Freak Offs” is public information. Indeed, the government
has publicized that these were “extended sex acts with male commercial sex workers” and
“elaborate and produced sex performances” that were “electronically recorded.”
Indictment ¶ 12(a). The government has publicized gratuitous details, including the use of
“baby oil, lubricant, extra linens, and lighting,” “room damage,” and “delivery of IV
fluids.” Id. ¶ 12(b). The government even held a press conference publicizing the seizure
of “more than 1,000 bottles” of “personal lubricant and baby oil.” And the government
has publicly asserted that “during the Freak Offs,” alleged victims were subjected to
“physical, emotional, and verbal abuse,” including being “hit, kicked, . . . and dragged,”
and that alleged victim claims are “corroborated by” “videos of the Freak Offs.” Dkt. 5 at
2, 12. Faulting the defense for characterizing that same evidence as exculpatory and
consensual is an unfair double standard and demonstrates the government’s intent to
mislead the public and the Court. To accept the government’s broad reading of the
protective order would turn it into a tool to shield the public from any interpretation of the
evidence that could be favorable to Mr. Combs, after the government has been able to tout
its own inculpatory interpretation. The result will be an unfairly polluted jury pool,
manufactured by the government’s misleading narrative and widely disseminated by the
press.
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        We appreciate the Court’s consideration.

 Dated: January 15, 2025                     Respectfully submitted,




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